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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                          )
  In re:                                                  )   Chapter 11
                                                          )
  FREE SPEECH SYSTEMS LLC,                                )   Case No. 22-60043
                                                          )
                          Debtor.                         )
                                                          )

        AMENDED DECLARATION OF ELIZABETH FREEMAN IN SUPPORT
          OF THE APPLICATION TO RETAIN THE LAW OFFICE OF LIZ
      FREEMAN, PLLC AS CO-COUNSEL FOR THE SUBCHAPTER V TRUSTEE


       The undersigned proposed attorney for the above-captioned debtor and debtor-in-

possession submits this verified statement of disinterestedness pursuant to Bankruptcy Rule

2014(a).

       1.      My name is Elizabeth Freeman. I am over the age of 18 years, I am competent to

make this declaration, and I have personal knowledge of the facts stated herein. Each and every

statement contained herein is true and correct.

       2.      I am an attorney admitted to practice in the State of Texas and in this Court.

       3.      I am a member of The Law Office of Liz Freeman, PLLC (the “Firm”). The Firm’s

mailing address is PO Box 61209, Houston, TX 77208-1209. The Firm’s telephone number is

832-779-3580. My e-mail address is liz@lizfreemanlaw.com.

       4.      In conjunction with the Trustee’s retention of the Firm, I searched of the Firm’s

conflict system for each of the Debtor, the Debtor’s creditors, affiliates, and insiders, principals of

the Debtor, officers and directors of the Debtors (the “Potential Parties in Interest”).

       5.      The Firm may represent other affiliates whose identities and affiliation did not show

up on the conflicts system. It is possible that there are creditors whom the Debtor did not identify




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in their records that are clients of the Firm. I did not find that I nor my Firm had connections with

the Debtor, its creditors and their current and former officers, directors, and professionals.

       6.      The Firm was sent $100,000 from FSS on December 22, 2023. An additional

$50,000 was sent to the Firm by FSS on January 26, 2024. These Funds were deposited into and

remain in the Firm’s IOLTA account. The Firm has not been paid for any work in this case.

               A.      The Firm’s Prior Relationship to the Trustee

       6.      My prior firm, Jackson Walker, LLP and the Trustee entered into the Engagement

on October 11, 2022. Jackson Walker continues to be engaged by the Trustee. I am primary

counsel for the Trustee. Jackson Walker assists the Trustee on discovery matters related to the

Trustee’s investigation. The two firms are careful to avoid duplication of effort. The Firm does

not bill the estate for discovery work addressed by Jackson Walker. The Firm does utilize the

information and materials obtained in discovery in preparation of the Trustee’s investigation

reports.

       7.      The Firm has no other representation of the Trustee. The Trustee and I have known

one another for a number of years and have worked on matters as opposing counsel and also as

counsel representing parties with common interests. On occasion, I refer potential clients to the

Trustee.

               B.      Current Clients of the Firm that are Creditors of the Debtor

       8.      The Firm does not represent entities or affiliates of creditors of the Debtor.

               C.      Creditors of the Debtor that are Adverse to the Firm’s Clients

       8.      The Firm did not find that it represents, or has represented in the past, clients that

are adverse or potentially adverse to creditors (or affiliates of creditors) of the Debtor.

               D.      The Firm’s Connections with the Debtor, Officers, and Professionals



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        9.      Neither I nor the Firm have had any connection with the Debtor, insiders or

affiliates of the Debtor, the Debtor’s creditors, any other party in interest, their respective attorneys

and accountants, the United States Trustee, or any other person employed in the Office of the

United States Trustee. I believe that the Firm and I am a are disinterested persons within the

meaning of 11 U.S.C. § 101(14), to the best of my knowledge.

                E.      Statement Regarding United States Trustee Guidelines

        10.     The Firm shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtor’s chapter 11 case in compliance

with sections 330 and 331 of the Bankruptcy Code, and applicable provisions of the Bankruptcy

Rules, Bankruptcy Local Rules, and any other applicable procedures and orders of the Court.

        11.     The Firm will periodically review both the changes in identifiable parties in interest

of the Debtor and clients of the Firm as such information becomes available or relevant. I will

update this disclosure as appropriate.



        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.


      Executed February 1, 2024
                                                 /s/ Elizabeth C. Freeman
                                                 Elizabeth C. Freeman




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                        Schedule 1
                                            Patrick McGill
     Schedule of Searched Parties/Terms
                                            Reynal
Elevated Solution                           ADP
Free Speech                                 Cicak
Greenair                                    Richard Coan
Christopher Sadowski                        Alex Woolverton
Copycat Legal                               Stephen Lemmon
Edgecast                                    Melissa Haselden
Atomial                                     Anthony Gucciardi
Ready Alliance                              Aurium
Cloudfare                                   Patrick Riley
Getty Images                                Blue Ascension
Jacquelyn Blott                             Neil Heslin
RatsMed                                     Scarlett Lewis
Rapid Med                                   Leonard Pozner
Joel Skousen                                Veronique De La Rosa
David Icke                                  Marcel Fontaine
Icke Book                                   David Wheeler
Ickonic                                     Francine Wheeler
Commerce Con                                Jacqueline Barden
WWCR                                        Mark Barden
Paul Watson                                 Nicole Hockley
JW JIB                                      Ian Hockley
Brennan Gilmore                             Jennifer Hensel
Civil Rights Clinic                         Donna Soto
CustomTattoo                                Carlee Soto Parisi
AT&T                                        Carlos M. Soto
Justin Lair                                 Jillian Soto-Marino
PQPR                                        William Aldenberg
David Ross Jones                            William Sherlach
Carol Jones                                 Robert Parker
Ally Bank                                   Joey Delassio
Wisconsin Department                        Elevated Solutions
Texas Comptroller                           Ray Battaglia
American Express                            Bradley Reeves
Shelby Jordan                               Amex
Vickie Driver                               Texas Comptroller
Travis County                               Jason Ruff
Security Bank of Crawford                   Ha Nguyen
Reeves Law                                  Ally Bank
Sweetwater Holdings                         AIS Portfolio




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